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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        •    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        •    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        •    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        •    Any corporate amicus curiae must file a disclosure statement.
        •    Counsel has a continuing duty to update the disclosure statement.


        No. __________             Caption: __________________________________________________

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________, makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES      NO


        2.      Does party/amicus have any parent corporations?                                   YES NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES NO
                If yes, identify all such owners:




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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




        Signature: ____________________________________                    Date: ___________________

        Counsel for: __________________________________




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